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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION
    UNITED STATES OF AMERICA,                     )
                                                  )
                        Plaintiff,                )
    vs.                                           )         Case No. 4:20-CR-00212
                                                  )
    DEBRA LYNN MERCER-ERWIN (1)                   )
                                                  )
                        Defendants.               )

                                            ORDER

.         Upon the filing of Defendant, Debra Lynn Mercer-Erwin’s Motion in Limine Regarding

    Expert Testimony [Doc. 353], the Court hereby orders that Defendant’s Motion in Limine

    Regarding Expert Testimony is DENIED.

           IT IS SO ORDERED.
           SIGNED this 10th day of April, 2023.




                                      ___________________________________
                                      AMOS L. MAZZANT
                                      UNITED STATES DISTRICT JUDGE
